         Case 6:18-cv-00207-ADA Document 127 Filed 01/06/20 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

MULTIMEDIA CONTENT                              §
MANAGEMENT LLC,                                 §       Civil Action No.: 6:18-cv-00207-ADA
     Plaintiff                                  §
                                                §       JURY TRIAL DEMANDED
v.                                              §
                                                §       PATENT CASE
DISH NETWORK L.L.C.,                            §
      Defendant.                                §
                                                §

       PROPOSED ORDER GRANTING PLAINTIFF MULTIMEDIA CONTENT
      MANAGEMENT LLC AND DEFENDANT DISH NETWORK L.L.C.’S JOINT
                   STIPULATION TO STAY THE CASE

        Before the Court is Plaintiff and Defendant’s Stipulation to Stay the Case. After

consideration of the Stipulation, the Court hereby GRANTS the Stipulation.

IT IS HEREBY ORDERED THAT

        This case is stayed and all upcoming deadlines are vacated with the exception of the

activities proposed in the joint stipulation.




                    6th day of January, 2020.
        SIGNED this _____




                                                        ____________________________________
                                                        The Honorable Alan D. Albright
                                                        United States District Judge




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